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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

  PROJECT VERITAS,

               Plaintiff,
                                         Civil Action No.
  V.                                     l:21-cv-01722-SCJ


  CABLE NEWS NETWORK, INC.,

           Defendant.



                                    ORDER

         For good cause shown, it is hereby ORDERED that the Parties' Joint


Motion to Continue Case Planning Deadlines (Doc. No. [24]) is GRANTED.


The deadlines stated in Fed. R. Civ. P. 26, and Local Rules 16 and 26, NDGa,

shall commence upon, and shall be calculated from, the entry of an order


resolving the pending Motion to Dismiss.


                             ^r^
DONE and ORDERED this'_ day of July, 2021. /

                                         /l l/U i'- /-7^
                                     Hon. Steve C. Jones
                                     District Court Judge, N.D. Ga.




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